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  Case 5:20-cv-00143-BJD Document 68 Filed 05/05/21 Page 3 of 3 PageID 4036


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Subject:        21-10117-DD PNC Bank, N.A. v. Land Trust Agreement No. 07200, et al "Court Order Filed Granted by Court Other Motion" (5:20-cv-00143-BJD, Lead: 3:13-bk-07570-RCT)
Date:           Tuesday, April 27, 2021 10:37:13 AM




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                                                          United States Court of Appeals for the Eleventh Circuit

Notice of Docket Activity

The following transaction was filed on 04/27/2021
Case Name:        PNC Bank, N.A. v. Land Trust Agreement No. 07200, et al
Case Number:   21-10117
Document(s): Document(s)


Docket Text:
ORDER: "Appellant Lilia Belkova's Motion For Extension To Retain Attorney Due To Accident" is GRANTED. New counsel's notice of appearance is
due thirty (30) days from the entry date of this order. [9358315-2] BBM (See attached order for complete text)

Notice will be electronically mailed to:

Clerk - Middle District of Florida, Clerk of Court
William Lee Grimsley
Kimberly H. Israel


Notice sent via US Mail to:


Lilia Belkova
2251 BUCK RIDGE TRL
LOXAHATCHEE, FL 33470

The following document(s) are associated with this transaction:
Document Description: Court Order Filed
Original Filename: 21-10117 order.pdf
Electronic Document Stamp:
[STAMP acecfStamp_ID=1160056652 [Date=04/27/2021] [FileNumber=9370214-0]
[902445f8bcf9b451994dbac05fa9b2a7a0ea401fb65f3b7e6e62c949e751aa07aef99b62089a9d2229bda46fe4d07e469978481eddb2153627f216578aae38fa]]
